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 1   STEVEN C. GLICKMAN, State Bar No. 105436
     Email: scg@glickman-law.com
 2   NICOLE E. HOIKKA, State Bar No. 306324
     Email: neh@glickman-law.com
 3   GLICKMAN & GLICKMAN,
     A LAW CORPORATION
 4    9460 Wilshire Boulevard, Suite 330
      Beverly Hills, CA 90212
 5    Telephone: (310) 273-4040
      Facsimile: (310) 273-0829
 6

 7   JOHN E. SWEENEY, State Bar No. 116285
     Email: jes@thesweeneyfirm.com
 8   THE SWEENEY FIRM
      315 S. Beverly Drive, Suite 305
 9    Beverly Hills, CA 90212
      Telephone: (310) 277-9595
10    Facsimile: (310) 277-0177

11
     Attorneys for Plaintiffs M.B. III, etc., et al.
12

13                        UNITED STATES DISTRICT COURT

14                   FOR THE EASTERN DISTRICT OF CALIFORNIA

15                              SACRAMENTO DIVISION

16

17
     M.B. III, a minor, by and             Case No. 2:17-cv-02395-WBS-DB
18   through his Guardian Ad Litem,
     TITICE BEVERLY, individually          FOURTH AMENDED COMPLAINT FOR
19   and as Successor in Interest          DAMAGES
     and Personal Representative of
20   the Estate of Milton Beverly,            1) Deprivation of Civil
     Jr.; TWYLLER WEARY,                         Rights, 42 U.S.C. § 1983
21   individually and as Successor               (Deliberate Indifference)
     in Interest and Personal
22   Representative of the Estate of          2) Deprivation of Civil
     Milton Beverly, Jr.,                        Rights, 42 U.S.C. § 1983
23                                               (Supervisory Liability
                             Plaintiffs,         for Policy, Custom, or
24                                               Practice);
                v.
25                                            3) Deprivation of Civil
                                                 Rights, 42 U.S.C. § 1983
26   STATE OF CALIFORNIA, et al.,                (Supervisory Liability
                                                 for Failure to Train and
27                           Defendants.         Supervise and Negligent
                                                 Hiring);
28

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1                                            4) Negligence (Wrongful
                                                 Death); and
 2
                                              5) Violation of Government
 3                                               Code §§ 844.6 and 845.6
                                                 (Failure to Summon
 4                                               Immediate Medical Care)
 5                                           DEMAND FOR JURY TRIAL
 6                                         Trial Date: None
                                           Action Filed: 11/14/2017
 7

 8        COMES NOW Plaintiffs M.B. III, a minor, by and through his

 9   Guardian Ad Litem, TITICE BEVERLY, individually and as Successor

10   in Interest and Personal Representative of the Estate of Milton

11   Beverly, Jr., and TWYLLER WEARY, individually and as Successor in

12   Interest and Personal Representative of the Estate of Milton

13   Beverly, Jr. (hereinafter collectively “Plaintiffs”), and show

14   this honorable court the following:

15                            JURISDICTION AND VENUE

16        1.    This Court has jurisdiction under 28 U.S.C. § 1343(4)

17   for violations of the 1871 Civil Rights Enforcement Act, as

18   amended, including 42 U.SC. § 1983, and 42 U.S.C. § 12188(a).

19   This Court has supplemental jurisdiction over Plaintiff M.B.

20   III’s state law causes of action under 28 U.S.C. § 1367.

21        2.    Venue is proper in this judicial district pursuant to

22   28 U.S.C. § 1391(b) because the unlawful acts and practices

23   alleged herein occurred at California State Prison-Sacramento

24   (hereinafter “CSP-Sacramento”) in Represa, in Sacramento County,

25   California, within the Eastern District of California.

26                                  THE PARTIES

27        3.    Plaintiff M.B. III is the biological son, successor in

28   interest, and personal representative of the estate of his father

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   Milton Beverly, Jr. (“Decedent”). He brings this claim for

 2   himself personally, as Decedent’s successor in interest and heir,

 3   as the personal representative of the estate, and, as applicable,

 4   pursuant to California Code of Civil Procedure §§ 377.30 and

 5   377.60.

 6        4.    Plaintiff TWYLLER WEARY is the mother, successor in

 7   interest, and personal representative of the estate of her son,

 8   Decedent. She brings this claim for herself personally, as

 9   decedent’s successor in interest and heir, as the personal

10   representative of the estate, and, as applicable, pursuant to

11   California Code of Civil Procedure §§ 377.30 and 377.60.

12        5.    The declarations of TITICE BEVERLY as Guardian Ad Litem

13   for M.B. III and TWYLLER WEARY are attached hereto as Exhibits

14   “1” and “2.”

15        6.    Defendant Sergeant TODD MANES (Badge #69918)

16   [previously named as DOE 1] was the Enhanced Outpatient Program

17   sergeant charged with supervising the correctional officers in

18   the B-5 area at the time of Decedent’s death. He was employed by

19   California Department of Corrections and Rehabilitation

20   (hereinafter “CDCR”) as a correctional officer at CSP-Sacramento

21   at all times relevant to this complaint. Defendant MANES was

22   acting in a supervisory capacity at CSP-Sacramento and was

23   charged with the supervision of the correctional officers working

24   in the unit at the time of Decedent’s death. He was among the

25   first to respond to the scene after Decedent’s body was

26   discovered in his cell. Defendant MANES is being sued in his

27   individual capacity in the federal claims and negligence/wrongful

28   death claim and sued in his individual and official capacities

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   for violations of Government Code Sections 844.6 and 845.6.

 2        7.    Defendants KYLE MOHR (Badge #82617) [previously named

 3   as DOE 6], ANDREW BALLARD (Badge #86712) [previously named as DOE

 4   7], and KEN BROWN (Badge #68250) [previously named as DOE 3] were

 5   Correctional Officers and the B Yard Officers charged with

 6   supervising and monitoring the area in which Decedent was housed

 7   on the day of Decedent’s death. They were employed by CDCR as

 8   correctional officers at CSP-Sacramento at all times relevant to

 9   this complaint. They were among the first to respond to the scene

10   after Decedent’s body was discovered in his cell. Defendants

11   MOHR, BALLARD, and BROWN are being sued in their individual

12   capacities in the federal claims and negligence/wrongful death

13   claim and sued in their individual and official capacities for

14   violations of Government Code Sections 844.6 and 845.6.

15        8.    Defendant MICHAEL MUNROE (Badge #54508) [previously

16   named as DOE 8] was a Correctional Officer and the B-5 Control

17   Officer charged with supervising and monitoring the area in which

18   Decedent was housed on the day of Decedent’s death. He was

19   employed by CDCR as a correctional officer at CSP-Sacramento at

20   all times relevant to this complaint. He was among the first to

21   respond to the scene after Decedent’s body was discovered in his

22   cell. Defendant MUNROE is being sued in his individual capacity

23   in the federal claims and negligence/wrongful death claim and

24   sued in his individual and official capacities for violations of

25   Government Code Sections 844.6 and 845.6.

26        9.    Defendant STACY VUE (Badge #86970) [previously named as

27   DOE 9] was a Correctional Officer and the Yard Gunner charged

28   with supervising and monitoring from the control booth the area

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   in which Decedent was housed on the day of Decedent’s death. She

 2   was employed by CDCR as a correctional officer at CSP-Sacramento

 3   at all times relevant to this complaint. She was among the first

 4   to respond to the scene after Decedent’s body was discovered in

 5   his cell. Defendant VUE is being sued in her individual capacity

 6   in the federal claims and negligence/wrongful death claim and

 7   sued in her individual and official capacities for violations of

 8   Government Code Sections 844.6 and 845.6.

 9        10.   Defendant A. DUTTON, PsyD [previously named as DOE 2]

10   was the psychologist who performed Decedent’s last Mental Health

11   Evaluation on or around September 25, 2016. Dr. Dutton was

12   employed by CDCR as a psychologist at CSP-Sacramento at all times

13   relevant to this complaint. On information and belief, Dr. Dutton

14   is charged in this capacity with delivering medical attention and

15   treatment to inmates at CSP-Sacramento at the time of Decedent’s

16   death. Dr. Dutton failed to alert staff after the Mental Health

17   Evaluation that Decedent had a heightened risk of suicide, and

18   failed to order or carry out a follow up evaluation. Dr. Dutton

19   failed to properly document Decedent’s suicidal behavior and

20   ideation. Dr. Dutton failed to implement policies on suicide

21   prevention and reporting. Dr. Dutton is being sued in their

22   individual capacity except for violations of Government Code §

23   845.6, for which they are being sued in their individual as well

24   as official capacity.

25        11.   The true names or capacities, whether individual,

26   corporate, associate, or otherwise, of Defendant DOES 4, 5 and

27   10, inclusive, are unknown to Plaintiffs who therefore sue said

28   defendants by such fictitious names. Plaintiffs are informed and

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   believe and thereon allege that each of the defendants designated

 2   herein as DOES 4, 5, and 10 is responsible in some manner for the

 3   events and happenings referred to herein and was a substantial

 4   factor in causing injury and damages proximately thereby to

 5   Decedent and Plaintiffs, as herein alleged. Plaintiffs are

 6   informed and believe and thereon allege that DOES 4, 5 and 10

 7   were correctional officers, supervisors, or members of the

 8   medical or mental health staff at CSP-Sacramento.

 9        12.   Plaintiffs are informed and believe and thereon allege

10   that all times herein mentioned, each of the defendants was the

11   agent and/or employee and/or conspirator of each of the remaining

12   defendants, and in doing the things herein alleged, was acting

13   within the scope of such agency, employment, and/or conspiracy,

14   and with the permission and consent of the other co-defendants.

15                COMPLIANCE WITH CALIFORNIA TORT CLAIMS ACT

16        13.   Plaintiff M.B. III timely filed a Government Claim Form

17   with the STATE OF CALIFORNIA on May 10, 2017. The Government

18   Claim was denied by operation of law. See California Government

19   Code § 912.4(c). The claim was filed against the state agencies

20   and employees whose names were known to Plaintiffs at the time of

21   filing the Government Claim Form.

22                              INITIAL ALLEGATIONS

23        14.   Each paragraph of this Third Amended Complaint is

24   expressly incorporated into each cause of action which is a part

25   of this Third Amended Complaint.

26        15.   All defendants’ acts and omissions were engaged in

27   maliciously, callously, oppressively, wantonly, recklessly, and

28   with deliberate indifference to the rights of Decedent and

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   Plaintiffs.

 2        16.    This complaint may be pled in the alternative pursuant

 3   to Federal Rules of Civil Procedure, Rule 8(d)(2).

 4        17.   Milton Beverly, Jr. (Decedent), Plaintiff M.B. III’s

 5   father and Plaintiff TWYLLER WEARY’S son, had been charged with

 6   various crimes. He was convicted and while in custody in the

 7   County of Los Angeles, prior to his sentencing, he attempted

 8   suicide. He was placed on suicide precautions at that time by the

 9   County of Los Angeles.

10        18.   Subsequently, Decedent was sentenced and transferred to

11   Vacaville Mental Health Facility where he was supervised with

12   suicide precautions.

13        19.   Decedent was subsequently transferred to North Kern

14   State Prison in Delano, California. North Kern is a state prison

15   within the CDCR. While a prisoner at North Kern, Decedent again

16   attempted suicide.

17        20.   On or about April 11, 2016, Decedent was transferred

18   from North Kern State Prison to California Medical Facility.

19        21.   Decedent was placed in a “crisis bed” at California

20   Medical Facility and was a participant in the Mental Health

21   Service Delivery System at the Enhanced Outpatient Program level

22   of care.

23                    DECEDENT’S SUICIDE AT CSP-SACRAMENTO

24        22.   Decedent was subsequently transferred to CSP-Sacramento

25   on or around June 2, 2016.

26        23.   When he arrived at CSP-Sacramento, the staff carrying

27   out intake had access to a computer-based Strategic Offender

28   Management System (SOMS) which contained data about Decedent’s

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   placement in the Mental Health Service Delivery System and his

 2   status in the Enhanced Outpatient Program. The staff also had

 3   access to the Electronic Records Management System (ERMS) digital

 4   files, from which staff could learn more information about

 5   Decedent’s medical needs and housing requirements.

 6        24.    During the time Decedent was at CSP-Sacramento,

 7   Decedent showed signs and symptoms of suicidal ideation and

 8   behavior establishing that Decedent needed immediate medical care

 9   to protect against this substantial suicide risk. In the months

10   prior to his death, Decedent’s psychiatric and medical condition

11   worsened.

12        25.    On or around June 10, 2016, Decedent was noted to be

13   “very depressed and withdrawn” and referred to the Mental Health

14   Service Delivery System.

15        26.    On or around September 1, 2016, Decedent was identified

16   by staff at CSP-Sacramento as having a ‘disability’

17   (participation in the Enhanced Outpatient Program for mental

18   health care) and moved from the “SHU” (special housing unit) to B

19   facility, 5 block (“B-5”) housing for Enhanced Outpatient Program

20   participants. On information and belief, Plaintiffs assert that

21   B-5 was a housing assignment with less monitoring and supervision

22   for inmates, including Decedent, than the SHU available housing

23   at CSP-Sacramento.

24        27.    The last time Decedent received a Mental Health

25   Evaluation by a CDCR clinician was on or around September 25,

26   2016, when Decedent was evaluated by Defendant DUTTON. On

27   information and belief, Plaintiffs allege that as the last

28   psychologist to perform a Mental Health Examination, Defendant

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 1   DUTTON was responsible for making and implementing

 2   recommendations for proper and adequate mental and medical

 3   healthcare for Decedent. Defendant DUTTON failed to make or

 4   implement said recommendations and failed to document Decedent’s

 5   suicidal behavior and ideation. No follow-up Mental Health

 6   Evaluation was performed in the 8 weeks prior to Decedent’s

 7   suicide, even though Decedent was noted to have a “qualifying

 8   mental disorder” and to be prescribed “psychotropic medication.”

 9        28.   In October 2016, Decedent’s sister, TITICE BEVERLY,

10   attempted several times to reach CSP-Sacramento personnel by

11   telephone to request medical and mental health assessment and

12   treatment for Decedent. She received no response or return call.

13   In a letter dated November 1, 2016, Decedent’s sister notified

14   CSP-Sacramento personnel in writing that she feared Decedent’s

15   condition was getting worse. It is unknown to Plaintifs who at

16   CSP-Sacramento received and/or was responsible for processing

17   said letter and Plaintiffs will request leave of court to amend

18   the operative complaint to allege said information when it is

19   ascertained.

20        29.   In the weeks before his death, Decedent made several

21   phone calls, which were recorded, from CSP-Sacramento to his

22   sister and to Plaintiff M.B. III’s mother. Decedent unequivocally

23   and repeatedly expressed his intention to kill himself. These

24   monitored and recorded calls included four calls on November 23,

25   2016, the day before Decedent’s suicide, at 0905, 1843, 1859, and

26   1902.

27        30.   In addition to the warnings by members by Decedent’s

28   family and the recorded and monitored phone calls in which he

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 1   professed the imminent intention to commit suicide, Decedent was

 2   also diagnosed with bipolar disorder, according to prison medical

 3   records. Despite this diagnosis, his prison-provided medication

 4   regiment did not include antidepressant medication.

 5         31.   Further, Decedent was housed in a cell with access to

 6   bedsheets, even though Defendants knew and were trained that

 7   inmates with an increased risk of suicide should not be given

 8   materials from which ligatures may be made, including cloth

 9   bedsheets. Decedent ultimately was successful in committing

10   suicide at CSP-Sacramento because he used his bedsheets to create

11   ligatures.

12         32.   Despite the suicidal signs and symptoms and the

13   warnings of Decedent’s family members, Decedent was provided with

14   neither proper medical and supervisory care nor appropriate

15   suicide precautions.

16         33.   The personnel assigned to perform periodic “cell

17   checks” on Decedent’s prison cell failed to perform said cell

18   checks every hour, as required by prison policy and procedures.

19         34. On information and belief, Plaintiffs allege that

20   written policy, procedure, and practice require that correctional

21   officers personally observe inmates on a regular schedule and not

22   less than once per hour. Suicidal inmates should be observed more

23   frequently; for example, inmates in ‘holding cells’ at CSP-

24   Sacramento are checked for welfare every 15 minutes.

25         35.   In addition, it is believed that Decedent was not

26   prescribed and/or administered appropriate medications, such as

27   antidepressants, while in custody at CSP-Sacramento. On the date

28   of his death, the only medication offered to Decedent was Tylenol

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   on an ‘as-needed’ basis.

 2         36.   On or about November 24, 2016, Decedent was successful

 3   in committing suicide.

 4                 ALLEGATIONS REGARDING DEFENDANTS’ CONDUCT

 5         37.   On the day of Decedent’s death, prison personnel

 6   including Defendants MANES, MOHR, BALLARD, MUNROE, BROWN, VUE,

 7   and DOES 4, 5, and 10, failed to perform a “cell check” on

 8   Decedent’s cell between approximately 0700 hours and when

 9   Decedent was discovered “Man Down” at or around 1015 hours.

10         38.   On information and belief, this failure to perform a

11   “cell check” on Decedent left Decedent, a suicidal and depressed

12   inmate, unsupervised for a period of time long enough for

13   Decedent to successfully commit suicide by asphyxiation.

14         39.   Plaintiffs are informed and believe and thereon state

15   that at all times relevant hereto, the personnel connected with

16   the CDCR, including the personnel at CSP-Sacramento, knew or in

17   the existence of reasonable care should have known that Decedent

18   was a suicide risk, as Decedent had attempted suicide on at least

19   two prior occasions while in custody, including while in custody

20   at a CDCR facility.

21         40.   Specifically, Defendants MANES, MOHR, BALLARD, MUNROE,

22   BROWN, VUE, DUTTON, and DOES       4, 5, and 10 were subjectively

23   aware of Decedent’s serious medical need because prior to his

24   death, they accessed and reviewed (and subsequently had access

25   to) the Strategic Offender Management System (SOMS) and

26   Electronic Records Management System (ERMS) systems that detailed

27   Decedent’s health condition(s), his history of suicide attempts,

28   past and current housing placements (including past placement in

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 1   a “crisis bed”), and other relevant information. On information

 2   and belief, Plaintiffs allege that Defendant DUTTON further had

 3   access to Decedent’s full prison medical record, which contained

 4   even more detailed information regarding Decedent’s health

 5   conditions and past suicide attempts.

 6         41.   From their review and familiarity with the SOMS and

 7   ERMS records relating to Decedent, Defendants knew that Decedent

 8   had a heightened risk of suicide.

 9         42.   Defendants also knew that Decedent had made statements

10   evidencing an imminent intention to kill himself because his

11   phone calls were monitored and recorded, and because Defendants

12   periodically carried out cell searches, in which they would have

13   seen notes and other writings by Decedent referencing suicide and

14   expressing suicidal ideation. For example, Beverly had in his

15   cell notes which read, in pertinent part:

16            a. “…[F]orgive my early departure. I harbor a fascination

17               of death.”

18            b. “I fear living instead of fearing death.”

19         43.   On information and belief, Plaintiffs assert that

20   correctional officers at CSP-Sacramento are trained to take all

21   suicide threats by detainees seriously.

22         44.   Despite this, Defendants failed to appropriately

23   respond to the information they had learned by reviewing the SOMS

24   and ERMS records and did not adequately monitor Decedent via the

25   hourly cell check process. Defendants failed to provide and/or

26   administer appropriate and indicated (as well as life-saving)

27   medical treatment and prescription medication, including

28   antidepressants, and instead offered Decedent only Tylenol on the

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 1   day of his death. Defendants did not report or respond to

 2   Decedent’s suicide threats made via phone call and in writing.

 3         45.   Once Decedent was transferred to CSP-Sacramento,

 4   despite the fact that Decedent was showing signs and symptoms of

 5   ongoing suicidal ideation and behavior demonstrating that

 6   Decedent was at an immediate suicide risk, Defendants failed to

 7   exercise proper suicide precautions such that Decedent was able

 8   to commit suicide as alleged.

 9         46.   Based on this, Plaintiffs contend that the Defendants,

10   as agents and employees of the CDCR, failed in their statutory

11   duties under both California and Federal law, including but not

12   limited to violations of the Eighth and Fourteenth Amendments of

13   the United States Constitution, by failing to provide adequate

14   mental health services and adequate protection to Decedent,

15   thereby depriving Decedent and Plaintiffs of their civil rights.

16         47.   Moreover, Defendants knew and/or had reason to know

17   that Decedent was in immediate need of medical and other

18   appropriate supervisory care, yet they failed to take reasonable

19   action to summon such care in order to protect against Decedent’s

20   attempted suicide.

21                              GENERAL ALLEGATIONS

22         48.   All defendants acted without authorization of law.

23         49.   Each defendant participated in the violations herein

24   alleged, or directed the violations herein alleged, or knew of

25   the violations herein alleged, and failed to act to prevent them.

26   Each defendant ratified, approved, or acquiesced in the

27   violations herein alleged.

28         50.   As joint actors with joint obligations, each defendant

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 1   was and is responsible for the failures and omissions of the

 2   other.

 3         51.   Each defendant acted individually and in concert with

 4   the other defendants and others not named in violating Decedent’s

 5   and Plaintiffs’ rights.

 6         52.   As a direct and proximate result of the aforesaid acts,

 7   omissions, customs, practices, policies, and decisions of the

 8   defendants, Decedent suffered great fear, physical and mental

 9   suffering, anguish, confusion, anxiety, nervousness, and

10   ultimately loss of life during the period of time in which

11   Defendants failed to provide appropriate psychiatric care and

12   treatment for Decedent’s urgent psychiatric condition, and in

13   particular, suffered acute and unmitigated mental and physical

14   suffering the hours preceding his suicide on November 24, 2016.

15         53.   As a direct and proximate result of the aforesaid acts,

16   omissions, customs, practices, policies, and decisions of the

17   defendants, Plaintiffs have suffered great mental and physical

18   pain, suffering, anguish, fright, nervousness, anxiety, shock,

19   humiliation, indignity, embarrassment, harm to reputation, and

20   apprehension, which have caused Plaintiffs to sustain damages in

21   an amount to be determined at trial.

22         54.   Due to the acts of the defendants, Plaintiffs have

23   suffered and continue to suffer, and are likely to suffer in the

24   future, extreme and severe mental anguish as well as mental and

25   physical pain and injury. For such injury, plaintiffs will incur

26   significant damages based on psychological and medical care.

27         55.   As a further result of the conduct of each of the

28   defendants, Plaintiffs have been deprived of familial

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 1   relationships, including the loss of Decedent Milton Beverly,

 2   Jr., Plaintiff M.B. III’s father and Plaintiff TWYLLER WEARY’S

 3   son, and the emotional impact on their family unit as a whole.

 4         56.   The aforesaid acts of all Defendants were willful,

 5   wanton, malicious, oppressive, in bad faith, and done with

 6   reckless disregard or with deliberate indifference to the

 7   constitutional rights of Decedent and Plaintiffs, entitling

 8   Plaintiffs to exemplary and punitive damages in an amount to

 9   proven at the trial of this matter.

10         57.   By reason of the above described acts and omissions of

11   all defendants, Plaintiffs were required to retain an attorney to

12   institute and prosecute the within action, and to render legal

13   assistance to Plaintiffs so that they might vindicate the loss

14   and impairment of their rights. By reason thereof, Plaintiffs

15   request payment by defendants of a reasonable sum for attorney’s

16   fees, pursuant to 42 U.S.C. § 1988, California Code of Civil

17   Procedure § 1021.5, and any other applicable provision of law.

18                             FIRST CAUSE OF ACTION

19                        Violation of 42 U.S.C. § 1983

20                       Eighth and Fourteenth Amendments

21                            Deliberate Indifference

22      By Plaintiffs M.B. III and TWYLLER WEARY, Individually and on

23     Behalf of the Estate of Milton Beverly, Jr., Against Defendants

24    MANES, MOHR, BALLARD, MUNROE, BROWN, VUE, DUTTON, and DOES 4, 5,

25                    and 10 in their Individual Capacities

26         58.   Plaintiffs re-allege and incorporate by reference the

27   preceding paragraphs as though fully set forth herein.

28         59.   While Decedent was in custody at CSP-Sacramento, the

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 1   prison officials, including Defendants, were obligated to respond

 2   if a serious medical should arise.

 3         60.   On the day of Decedent’s death, Defendant VUE was

 4   stationed in B-5 Control, in the same building and row as

 5   Decedent. Although Defendant VUE was tasked with monitoring

 6   inmates in the B-5 area, Defendant VUE failed to check on

 7   Decedent in his cell that morning prior to his death.

 8         61.   On the day of Decedent’s death, Defendant MUNROE was

 9   working as a B-5 control officer. Although Defendant MUNROE was

10   tasked with monitoring inmates in the B-5 area, Defendant MUNROE

11   failed to check on Decedent in his cell that morning prior to his

12   death.

13         62.   On the day of Decedent’s death, Defendant MOHR was

14               working as a B yard officer. Although Defendant MOHR

15               was tasked with monitoring inmates in the B-5 area,

16               Defendant MOHR failed to check on Decedent in his cell

17               that morning prior to his death.

18         63.   On the day of Decedent’s death, Defendant BROWN was

19               working as a B-5 floor officer. Although Defendant

20               BROWN was tasked with monitoring inmates in the B-5

21               area, Defendant BROWN failed to check on Decedent in

22               his cell that morning prior to his death.

23         64.   On the day of Decedent’s death, Defendant BALLARD was

24               working as a B yard officer. Although Defendant BALLARD

25               was tasked with monitoring inmates in the B-5 area,

26               Defendant BALLARD failed to check on Decedent in his

27               cell that morning prior to his death.

28         65.   On the day of Decedent’s death, Defendant MANES was the

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1               supervisor on duty as Sergeant in the B Facility

 2               Enhanced Outpatient Program. He was tasked with

 3               supervising his subordinate correctional officers as

 4               they carried out their duties, including performing

 5               cell checks for the welfare of the inmates in the B-5

 6               area. Defendant MANES was aware from his personal

 7               observation that hourly cell checks were not performed

 8               by Defendant MANES’ correctional officer subordinates

 9               on the date of Decedent’s death.

10         66.   On or around September 25, 2016, Defendant DUTTON

11   carried out a Mental Health Evaluation of Decedent. Dr. Dutton

12   failed to alert staff after the Mental Health Evaluation that

13   Decedent had a heightened risk of suicide. Dr. Dutton failed to

14   implement appropriate medical treatment following the evaluation.

15   Dr. Dutton failed to implement policies on suicide prevention and

16   reporting. Dr. Dutton failed to document or alert other staff of

17   Decedent’s suicidal behavior and/or ideation. Dr. Dutton did not

18   order or complete a follow up Mental Health Evaluation, and

19   approximately 8 weeks after Dr. Dutton’s evaluation, Decedent

20   committed suicide.

21         67.   Besides their knowledge of Decedent’s specific medical

22   needs from having reviewed the SOMS and ERMS records, Defendants

23   MANES, MOHR, MUNROE, BALLARD, BROWN, and VUE also knew that

24   consistent, frequent monitoring was required of the inmates in

25   the B-5 area because it was for “EOP” inmates, like Decedent, who

26   were in the Enhanced Outpatient Program for mental health care.

27         68.   Decedent had a serious medical need during the period

28   he was incarcerated at CSP-Sacramento because he was at higher

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   risk of suicide. The factors contributing to his heightened

 2   suicide risk included two previous suicide attempts while in

 3   custody, a diagnosis of bipolar disorder, correspondence from

 4   Decedent’s family warning prison officials of his deteriorating

 5   mental state, recorded telephone calls in which he stated his

 6   imminent intention to commit suicide, and the absence of

 7   antidepressants in his prison-provided medication regimen.

 8         69.   Defendants’ acts and failures to act were sufficiently

 9   harmful to evidence deliberate indifference to Decedent’s serious

10   medical need.

11         70.   As set forth above, Decedent was subjected to

12   deprivation of rights by defendants, acting or pretending to act

13   under color of law and of statutes, ordinances, regulations,

14   customs, and usages of the law of the United States, State of

15   California, and/or of the County of Sacramento, which rights

16   include, but are not limited to, privileges and immunities

17   secured to Plaintiffs by the United States Constitution and the

18   laws of the United States.

19         71.   By reason of the aforementioned acts, these defendants

20   have violated the Constitutional rights and liberty interest of

21   Decedent and each Plaintiff, including those rights provided for

22   in the Eighth and Fourteenth Amendments to the United States

23   Constitution, as well as those rights which are protected under

24   the Fourteenth Amendment’s prohibition against depriving a person

25   of a right to family relationship without due process of law.

26         72.   Plaintiffs are informed and believe, and based on such

27   information and belief, allege that the defendants acted with

28   deliberate indifference to Decedent’s serious medical needs and

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   safety.

 2         73.   At all times mentioned herein, defendants knew, or had

 3   reason to know, of Decedent’s serious medical, physical, and

 4   mental health conditions because of Decedent’s prior suicide

 5   attempts while in custody, his past participation in the CDCR’s

 6   Mental Health Service Delivery System, and his past placement in

 7   a segregated unit because he presented an immediate threat to his

 8   own safety, based upon their review of the SOMS and ERMS records,

 9   as well as their training that allowed them to work in an

10   Enhanced Outpatient Program housing unit.

11         74.   Prior to Decedent’s death, Defendants were deliberately

12   indifferent to these serious medical, physical, and mental health

13   conditions, or ignored them. Defendants also failed to provide

14   access to and delivery of adequate medical or mental health

15   intervention, care, and attention. Defendants also failed to

16   perform regularly scheduled personal observation of Decedent in

17   the form of “cell checks.” Defendants also allowed Decedent

18   unrestricted and unsupervised access to materials from which he

19   could construct ligatures, i.e., his cloth bedsheets. Defendants

20   also knew or had reason to know of Decedent’s vocalized suicidal

21   ideation because they monitored and recorded his telephone calls

22   and conducted searches of Decedent’s cell that included his

23   writings, which referenced suicide and his own death.

24         75.   Decedent was subjected to deprivation of rights by

25   these defendants, acting under color of law and of statutes,

26   ordinances, regulations, customs and usages of the Law of the

27   United States, State of California, and County of Sacramento,

28   which rights included but are not limited to privileges and

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 1   immunities secured to Decedent by the Fourteenth or Eighth

 2   Amendments to the United States Constitution and laws of the

 3   United States, particularly (a) his right to access mental health

 4   and medical care and treatment for his serious but treatable

 5   condition; (b) his right to adequate, reasonable security,

 6   monitoring, supervision, classification and housing for this

 7   mental health and medical disabilities, each of which was also a

 8   cause of his serious injury and harm.

 9         76.   Defendants were responsible for the promulgation of the

10   policies and procedures, and allowance of the practices/customs,

11   pursuant to which the acts of the employees of the CDCR alleged

12   herein were committed. These defendants had ongoing knowledge

13   that the California prison system failed to provide adequate

14   medical care to its mentally ill and medically compromised inmate

15   population and knew that these conditions created a significant

16   risk of substantial harm to persons similarly situated to

17   Decedent. These Defendants disregarded that risk by failing to

18   take reasonable steps to avoid the risk. These defendants were

19   deliberately indifferent to the lack of adequate mental health

20   care services, creating an immediate risk to inmate health and

21   safety, particularly for suicidal inmates such as Decedent.

22         77.   Defendants, at all times relevant to this Third Amended

23   Complaint, were aware that at CSP-Sacramento there was

24   insufficient direct supervision of mentally ill inmates,

25   including Decedent and others similarly situated. These

26   defendants knew that Decedent and others similarly situated

27   required direct supervision to protect their physical safety, and

28   to protect the mentally ill inmate population from each other and

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   from themselves. Defendants disregarded that risk to inmate

 2   physical safety by allowing for insufficient direct supervision

 3   of mentally ill inmates at CSP-Sacramento. Plaintiffs are

 4   informed and believe and thereon allege that defendants were

 5   aware through the reports of their subordinates, through

 6   participation in prior civil rights litigation, and/or through

 7   internal investigation and studies that there was an excessive

 8   risk to inmate health or safety where suicidal inmates were not

 9   being provided adequate medical and mental health screening,

10   direct supervision, and provision of medical and mental health

11   services.

12         78.   Plaintiffs allege that defendants’ wrongful conduct

13   legally caused a deprivation of their constitutionally protected

14   liberty interest in familial companionship, love, and society of

15   their father and son, all to their damage in an amount to be

16   proven at trial.

17         79.   By virtue of the provisions of 42 U.S.C. § 1988,

18   Plaintiffs are entitled to and demand an award of reasonable

19   attorneys’ fees and costs according to proof.

20         80.   Each individual defendant acted recklessly or with

21   callous indifference to Decedent’s life-threatening physical,

22   medical, and/or psychiatric condition and Plaintiffs’

23   constitutional rights, and should be assessed punitive damages.

24   These acts include failing to provide adequate or indicated

25   mental or medical health care and failing to supervise and

26   monitor Decedent so as to prevent him from harming himself.

27   ///

28   ///

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   ///

 2                            SECOND CAUSE OF ACTION

 3                                42 U.S.C. § 1983

 4                       Eighth and Fourteenth Amendments

 5      Supervisory Liability for Policy, Custom, or Practice Causing

 6                           Constitutional Violations

 7      By Plaintiffs M.B. III and TWYLLER WEARY, Individually and on

 8     behalf of the Estate of Milton Beverly, Jr., Against Defendants

 9         MANES and DOES 4, 5 and 10 in Their Individual Capacities

10         81.   Plaintiffs repeat, reallege, and incorporate by

11   reference the preceding paragraphs as though set forth fully

12   herein.

13         82.   Plaintiffs are informed and believe and thereon allege

14   that, at all times herein mentioned, Defendants, with deliberate

15   indifference and conscious and reckless disregard for the safety,

16   security, and constitutional and statutory rights of Decedent,

17   engaged in the unconstitutional conduct and omissions as

18   specifically elaborated above.

19         83.   Specifically, Defendant MANES knew of Decedent’s

20   specific medical needs and his heightened risk of suicide because

21   of his review of the SOMS and ERMS records. He also participated

22   in the assignment of Defendants MUNROE, MOHR, BALLARD, and VUE to

23   their respective stations on the day of Decedent’s death. He was

24   further responsible for ensuring that his subordinates carried

25   out hourly cell checks to ensure the welfare of the inmates under

26   his purview.

27         84.   Defendant MANES failed to train his staff to

28   appropriately respond to the history of suicide attempts and

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   ongoing mental health issues of Decedent that his staff learned

 2   through review of the SOMS and ERMS records for Decedent. In

 3   addition, Defendant MANES failed to train and supervise his staff

 4   to ensure compliance with the cell check policy as well as

 5   compliance with the policy that suicide threats by inmates should

 6   be taken seriously and responded to with appropriate action.

 7         85.   Defendants were responsible for the promulgation of the

 8   policies and procedures, and allowance of the practices/customs,

 9   pursuant to which the acts of the employees of the CDCR alleged

10   herein were committed. These defendants had ongoing knowledge

11   that the California prison system failed to provide adequate

12   medical care to its mentally ill and medically compromised inmate

13   population and knew that these conditions created a significant

14   risk of substantial harm to persons similarly situated to

15   Decedent. These defendants disregarded that risk by failing to

16   take reasonable steps to avoid the risk. These defendants were

17   deliberately indifferent to the lack of adequate mental health

18   care services, creating an immediate risk to inmate health and

19   safety, particularly for suicidal inmates such as Decedent.

20         86.   Defendants, at all times relevant to this Third Amended

21   Complaint, were aware that at CSP-Sacramento there was

22   insufficient direct supervision of mentally ill inmates,

23   including Decedent and others similarly situated. These

24   defendants knew that Decedent and others similarly situated

25   required direct supervision to protect their physical safety, and

26   to protect the mentally ill inmate population from each other and

27   from themselves. Defendants disregarded that risk to inmate

28   physical safety by allowing for insufficient direct supervision

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 1   of mentally ill inmates at CSP-Sacramento.

 2         87.   Plaintiffs are informed and believe and thereon allege

 3   that at all times mentioned herein, Defendants, with deliberate

 4   and/or conscious or reckless disregard for the safety and

 5   constitutional rights of Decedent and other inmates with severe

 6   mental health conditions, maintained, enforced, tolerated,

 7   ratified, permitted, acquiesced in, and/or applied

 8   unconstitutional policies, practices and customs including, but

 9   not limited to:

10            a. Failure to provide adequate mental health services;

11            b. Failure to mitigate or eliminate known environmental

12               suicide hazards prevalent throughout jail housing

13               areas, including housing areas to which inmates with

14               serious mental illnesses are assigned;

15            c. Failure to provide appropriate custodial supervision of

16               inmates with mental health conditions, despite known

17               suicide hazards;

18            d. Failure to ensure that mental health housing and

19               treatment spaces met minimum safety design standards

20               for facilities in which persons with serious mental

21               illnesses are held;

22            e. Failure to ensure sufficient treatment space and

23               staffing necessary to provide adequate mental

24               healthcare;

25            f. Inadequate intake screening and assessment for housing

26               placement;

27            g. Inadequate monitoring and assessment of inmates’ mental

28               health conditions;

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 1            h. Insufficient mechanisms to ensure communication of

 2               relevant information between custodial, medical, and

 3               mental health staff;

 4            i. Failure to ensure appropriate suicide intervention

 5               measures; and

 6            j. Failure to ensure adequate training of correctional

 7               staff in suicide prevention and responding to mental

 8               healthcare crises.

 9         88.   Plaintiffs are informed and believe and thereon allege

10   that at all times herein mentioned, the individual defendants’

11   wrongful conduct was the result of policies, practices, and

12   customs that had the effect of providing inmates of CDCR with

13   mental health conditions unconstitutionally inadequate treatment;

14   permitting and promoting unsafe conditions for inmates leading to

15   a heightened risk of suicide; and covering up incidents of

16   unconstitutional behavior by members of the custody staff at CSP-

17   Sacramento.

18         89.   Each aforementioned policy, custom, or practice posed a

19   substantial risk of serious harm to Decedent and each defendant

20   knew, or in the exercise of reasonable care should have known,

21   that these policies, customs or practices posed this risk.

22         90.   The actions of Defendants set forth herein were a

23   motivating force behind the violations of Plaintiffs’ and

24   Decedent’s constitutional rights as set forth in this Third

25   Amended Complaint. As supervisors, Defendants MANES and DOES 4,

26   5, and 10 knew, or should have known, from their own knowledge of

27   Decedent’s records based upon review of SOMS and ERMS and the

28   reports of their subordinates, that the policies, customs, and/or

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   practices as stated above provided inadequate security,

 2   monitoring, supervision, classification and housing for this

 3   Decedent, who had known mental health and medical disabilities.

 4   Those policies, customs, and practices caused the violations of

 5   Plaintiffs’ and Decedent’s constitutional rights as set forth

 6   herein.

 7         91.   As a direct and proximate result of the aforementioned

 8   policies, practices, and customs, Plaintiffs sustained injuries

 9   and damages as alleged herein.

10                             THIRD CAUSE OF ACTION

11                                42 U.S.C. § 1983

12     Supervisory Liability for Negligent Hiring and Failure to Train

13               and Supervise Causing Constitutional Violations

14      By Plaintiffs M.B. III and TWYLLER WEARY, Individually and on

15     Behalf of the Estate of Milton Beverly, Jr., Against Defendants

16        MANES and DOES 4, 5, and 10 in Their Individual Capacities

17         92.   Plaintiffs repeat, reallege, and incorporate by

18   reference the preceding paragraphs as though fully set forth

19   herein.

20         93.   Plaintiffs are informed and believe and thereon allege

21   that Defendants knew, or in the exercise of reasonable care

22   should have known, of a history and propensity and pattern at the

23   time of this incident for employees of CDCR to fail to provide

24   reasonable security, monitoring, and supervision of inmates such

25   as Decedent; to fail to train and ensure that deputies,

26   employees, and medical care providers provide reasonable security

27   and monitoring and supervision of inmates such as Decedent; and

28   that they provide prompt and competent access to and delivery of

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
                                       26
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 1   mental health attention and intervention when inmates such as

 2   Decedent were having a mental health crisis requiring prompt

 3   investigation.

 4         94.   Defendants’ disregard of this knowledge or failure to

 5   adequately investigate and discovery and correct such acts or

 6   failure to act was a moving force which caused the violation of

 7   Decedent’s and Plaintiffs’ constitutional rights.

 8         95.   Plaintiffs are further informed and believe and thereon

 9   allege that the defendants knew, or in the exercise of reasonable

10   care should have known, of such prior history and propensity at

11   the time such individuals were hired and/or during the time of

12   their employment. The defendants’ disregard of this knowledge

13   and/or failure to adequately investigate and discover and correct

14   such facts caused the violation of Plaintiffs’ constitutional

15   rights.

16         96.   Plaintiffs are informed and believe and thereon allege

17   that prior to the incident alleged herein, Defendants, acting

18   under color of their authority as supervisory officers of

19   deputies, counselors, physicians, nurses, staff, and mental

20   health and medical care providers, and in the course and scope of

21   their employment as such, committed similar acts of:

22             a. Failure to provide access to and delivery of mental

23               health and medical care and treatment for inmates at

24               Defendant CDCR with known mental disabilities;

25             b. Failure to provide adequate housing and properly

26               classify inmates in the CDCR so that they would have

27               access to and delivery of indicated mental health and

28               medical care;

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1            c. Failure to provide adequate and reasonable monitoring

 2               and housing for inmates that present risk of suicide to

 3               prevent mental health disasters such as attempted

 4               suicides and suicides;

 5            d. Failure to supervise their subordinates to ensure that

 6               staff, deputies, and employees were implementing and

 7               complying with implementing policies and procedures to

 8               ensure the reasonable security and safety of inmates;

 9               and

10            e. Discriminating against inmates with known mental health

11               disabilities by use of a disciplinary system that

12               increases incarceration and imposes punishment for

13               behavior resulting from or caused by their mental

14               health disability.

15         97.   Plaintiffs are further informed and believe and thereon

16   allege that defendants knew or in the exercise of reasonable care

17   should have known of this pattern or practice of unconstitutional

18   violations, or the existence of facts which create the potential

19   of unconstitutional acts, and these defendants and DOES 2, 3, 4,

20   5, and 10 had a duty to train and instruct their subordinates to

21   prevent similar acts to other inmates, but failed to take steps

22   to properly train, supervise, investigate, or instruct deputies,

23   counselors, physicians and nurses, and/or agents or employees,

24   and to retain deputies, counselors, physicians, and nurses who

25   had a history of inappropriate conduct, and as a result Decedent

26   was harmed in the manner threatened by the pattern of practice.

27         98.   At all times herein mentioned, and prior thereto, the

28   defendants had the duty to perform the following, and violated

                       FOURTH AMENDED COMPLAINT FOR DAMAGES
                                        28
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 1   that duty:

 2            a. To train, supervise, and instruct deputies, counselors,

 3               nurses, physician assistants, physicians, and other

 4               agents to ensure that they respected and did not

 5               violate federal and state constitutional and statutory

 6               rights of inmates;

 7            b. To objectively investigate incidents of in-custody

 8               injury, deaths, suicides, suicide attempts, inadequate

 9               classification, and contraindicated housing, and to

10               take remedial action;

11            c. To provide access to and delivery of mental and medical

12               healthcare, intervention, treatment, follow-up, and

13               attention to injured, ill, or potentially suicidal

14               inmates, the lack of which resulted in serious injury

15               or loss of life, and to provide access to and delivery

16               of competent mental and medical healthcare;

17            d. To periodically monitor an inmate’s serious mental

18               health and medical condition and suicide prevention,

19               the lack of which may result in serious injury or loss

20               of life;

21            e. To periodically monitor the quality and adequacy of

22               mental health and medical care, attention, and

23               treatment provided to mentally ill inmates;

24            f. To periodically monitor the competency of medical and

25               custodial staffing to ensure that custodial deputies

26               and staff were complying with reasonable security to

27               inmates with mental health disabilities at Defendant

28               CDCR;

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1            g. To periodically monitor the classification and hosing

 2               of mentally ill inmates to ensure they have reasonable

 3               security and safety and are properly house, and not

 4               housed with or exposed to persons with known dangerous

 5               propensities;

 6            h. To comply with the statutory guidelines and regulations

 7               enacted for the protection of inmates held in a

 8               custodial setting;

 9            i. To discipline and establish procedures to correct past

10               violations, and to prevent future violations of

11               constitutional rights of inmates, by not condoning,

12               ratifying, and/or encouraging the violation of

13               Decedent’s and other inmates’ constitutional rights.;

14            j. To periodically train custodial staff and counselors on

15               understanding, recognizing, report, and responding to

16               issues of inmates’ mental healthcare and treatment; and

17            k. Not to discriminate against inmates with known mental

18               health disabilities by use of a disciplinary system

19               that increases incarceration and imposes punishment for

20               behavior resulting from or caused by their mental

21               health disability.

22         99.   As a result of the conduct of defendants, as described

23               above, Plaintiffs were damaged as alleged herein and as

24               set forth above.

25                            FOURTH CAUSE OF ACTION

26                         Negligence – Wrongful Death

27     By Plaintiff M.B. III, Individually, Against Defendants MANES,

28   MOHR, BALLARD, MUNROE, BROWN, VUE, DUTTON, and DOES 4, 5, and 10,

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1                        in Their Individual Capacities

 2         100. Plaintiffs repeat, reallege, and incorporate by

 3   reference the preceding paragraphs as though fully set forth

 4   herein.

 5         101. Defendants had a duty to provide reasonable security

 6   and render access and delivery of mental and medical care,

 7   treatment, and/or emergency services to Decedent for his mental

 8   health condition. This includes the failure to provide

 9   antidepressant medication and/or other proper mental health

10   treatment and therapy. Defendants and DOES 4, 5, and 10 breached

11   their duty and were negligent in the performance of their duties,

12   and this negligence caused the death of Decedent.

13         102. Defendants, acting within the course and scope of their

14   employment, had a duty to assure the competence of their

15   employee/agents. Defendants and Does 4, 5, and 10 breached their

16   duty and were negligent in the performance of their duties by

17   selecting, hiring, training, reviewing, periodically supervising,

18   failing to supervise, evaluating the competency and retaining

19   their Defendant deputies, counselors, physicians, employees,

20   and/or agents. This breach of the duty of careful selection,

21   hiring, training, review, supervision, periodic evaluation of the

22   competency, and retention of such officers, counselors, and other

23   staff created an unreasonable risk of harm to persons such as

24   Decedent.

25         103. The individually named defendants breached their duty

26   of care to observe, report, monitor, and provide reasonable

27   security regarding Decedent’s condition, and failed to prevent

28   his suicide.

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1         104. As a direct and legal result of the aforesaid

 2   negligence, carelessness, and unskillfulness of Defendants, and

 3   each of them, and as a result of their breach of duty of care to

 4   Decedent, he was injured due to a serious but treatable mental

 5   health condition, and Plaintiffs have suffered damages as alleged

 6   above.

 7         105. Specifically, Defendant MANES and DOES 4, 5, and 10

 8   were aware, through their knowledge of the SOMS and ERMS records,

 9   the policies and procedures applicable to mentally ill inmates at

10   CSP-Sacramento, their training and policies for the Enhanced

11   Outpatient Program housing unit, their own observation, and/or

12   the reports of their subordinates, of the need for adequate

13   supervision, classification, and staffing at CDCR facilities to

14   timely refer suicidal inmates, like Decedent, for medical,

15   psychiatric, psychological, and/or hospital care. Despite this

16   knowledge, they failed to implement a policy providing adequate

17   supervision, classification, and staffing levels to provide

18   observation and ongoing medical care to suicidal inmates.

19         106. Defendant MANES and DOES 4, 5, and 10, including agents

20   and employees of other defendants, failed to conduct appropriate

21   investigatory procedures to determine the need to obtain medical

22   and psychiatric services for Decedent while Decedent was in the

23   defendants’ care, custody, and control.

24         107. As a direct and legal consequence of the aforesaid

25   negligence, carelessness, and unskillfulness of the defendants,

26   and each of them, Decedent’s trauma and injuries and/or suicidal

27   ideation condition did not receive timely, appropriate, and

28   indicated intervention and treatment. His condition worsened and

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   resulted in his suicide. He suffered serious injury and harm

 2   proximately caused by the negligent conduct of Defendants. As a

 3   result of defendants’ breach of duty of care to Decedent,

 4   Decedent was injured as a result of a serious but treatable

 5   mental health condition, and Plaintiff M.B. III has suffered the

 6   damages as alleged herein.

 7                             FIFTH CAUSE OF ACTION

 8               California Government Code §§ 844.6 and 845.6

 9                        Failure to Summon Medical Care

10     By Plaintiff M.B. III, Individually, Against Defendants MANES,

11    MOHR, BALLARD, VUE, MUNROE, BROWN, DUTTON, and DOES 4, 5, and 10

12                in Their Individual and Official Capacities

13         108. Plaintiffs repeat, reallege, and incorporate by

14   reference the preceding paragraphs as though fully set forth

15   herein.

16         109. For all the reasons set forth above, Defendants knew or

17   had reason to know that Decedent needed immediate medical care

18   and that he had serious and obvious mental and medical conditions

19   that put the staff on notice that he should have his mental and

20   medical condition monitored. Defendants’ failure to provide

21   immediate medical care in the form of adequate monitoring and

22   mental health care, where Decedent’s health and mental condition

23   were deteriorating, proximately caused Decedent’s suicide.

24         110. Pursuant to California Government Code §§ 844.6 and

25   845.6, the defendants had a duty to monitor, check, and respond

26   to the persons under their custody, supervision, and control.

27   Defendants knew or had reason to know that Decedent needed

28   physical and mental healthcare and treatment while incarcerated

                      FOURTH AMENDED COMPLAINT FOR DAMAGES
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 1   at CSP-Sacramento and failed to take reasonable action to summon

 2   or provide such care. They knew or had reason to know of the need

 3   for intensive medical care for Decedent because of their

 4   knowledge, from either SOMS, ERMS, or the prison medical records,

 5   of his recent prior suicide attempts while in custody, his

 6   participation in the Mental Health Service Delivery System, his

 7   past placement in a “crisis bed,” and the other documentation in

 8   records available to and generated by the CDCR of Decedent’s

 9   being an immediate threat to his own safety.

10         111. The individuals at CSP-Sacramento who monitored,

11   supervised, treated, and administered Decedent as an inmate at

12   the prison, and who reported to the chain of command including

13   supervisors like Defendant MANES were in a position to know of

14   Decedent’s need for medical care.

15         112. Defendants’ knowledge of Decedent’s obvious mental and

16   medical conditions put the staff at CSP-Sacramento on notice that

17   Decedent should have had his medical condition closely monitored,

18   that he should have been prevented from unsupervised time alone,

19   and that on or before November 24, 2016, he needed immediate

20   medical care and mental healthcare, where his health and mental

21   condition were deteriorating, and the lack of which proximately

22   caused his suicide.

23         113. Nevertheless, these individuals were not properly

24   trained or supervised so as to provide the immediate medical care

25   that was necessary to save Decedent’s life, and did not provide

26   the close monitoring, supervision and/or medical and mental

27   healthcare that they had a duty to provide. This includes the

28   failure to provide antidepressant medication or other therapies

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 1   and interventions indicated by the patient’s medical history

 2   known to the staff of CSP-Sacramento.

 3                                 PRAYER FOR RELIEF

 4         Wherefore, Plaintiffs request relief on their own behalf and

 5   on behalf of the Estate of MILTON BEVERLY, JR., as follows,

 6   against each defendant:

 7         1.    General and compensatory damages in an amount according

 8               to proof;

 9         2.    Special damages in an amount according to proof;

10         3.    Exemplary and punitive damages in an amount according

11               to proof;

12         4.    Other losses in an amount according to proof;

13         5.    Costs of suit;

14         6.    Attorneys’ fees, under 42 U.S.C. § 1988, 42 U.S.C. §

15               12205, 29 U.S.C. § 794a(b), California Civil Code §§ 52

16               and 52.1, California Code of Civil Procedure § 1021.5,

17               and/or any other applicable provision of law; and

18         7.    Such other relief as may be warranted or as is just and

19               proper.

20
     Dated:     November 5, 2018             THE SWEENEY FIRM
21                                           and
                                             GLICKMAN & GLICKMAN
22                                           A LAW CORPORATION
23
                                             /s/ Nicole E. Hoikka
24
                                             STEVEN C. GLICKMAN
25                                           NICOLE E. HOIKKA
                                             Attorneys for Plaintiffs
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 2                               JURY TRIAL DEMAND

 3         Plaintiffs hereby demand trial by jury in this case.

 4
     Dated:   November 5, 2018               THE SWEENEY FIRM
 5                                           and
                                             GLICKMAN & GLICKMAN
 6                                           A LAW CORPORATION
 7
                                             /s/ Nicole E. Hoikka
 8
                                             STEVEN C. GLICKMAN
 9                                           NICOLE E. HOIKKA
                                             Attorneys for Plaintiffs
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